          Case: 1:19-cr-00277 Document #: 8 Filed: 04/08/19 Page 1 of 1 PageID #:22


                      U.S. District Court for the Northern District Of lllinois
                                    Attorney Appearance Form


caseritre:           tI.S. v. fflAU4qK caseNumber: l?                             Ct^     a77
An appearance is hereby fited by the undersigned as attorney                for, &nCgPCt0 n fvhf/'nef,

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Emair Address:        rJfl UonQ                         t, ba-l, fl ef
                                               "b:    I
Are you acting as teai counset in this          casV
                                                                          fr "". E               *o
Are you acting as local counsel in this case?
                                                                           tr    Yes
                                                                                         F      No

Are you a member of the court's trial bar?
                                                                          tr     Yes
                                                                                          tr    No

lf this case reaches trial, will you act as the trial attorney?

rf this   isa   cririp.I",f,*n$,.ffil. -' T
                                                                           tr    Yes

                                                                  RetaineO Counsel
                                                                                          tr    No



                                                                 Appointed Counsel
                              APR OB 2019                        lf appointed counsel, are you
                         THOMASG BRUTON
                     CLERK, U   S   OISTRICT COURT
                                                                 I    reoeral Defender
                                                                      CJA Panel Attorney

ln order to appear before this Court an attorney must either be a member in good standing of this Court,s
general bar or be granted leave to appeat pro hac vice as provided for by local rules 83.12 through g3.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 u.s.c.gt z+0, t[is
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed     3p t/r
                ."
Attorney signature:
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                               S/
                               (use                  if the appearance form is filed electronically.)
